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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Case No. 2022-cr-00185-PAB

UNITED STATES OF AMERICA,
Plaintiff,

V.

1. BRANDON LEE SILVERS,

Defendant.

 

INFORMATION

 

The United States Attorney charges:
COUNT 1
On or about March 28, 2022, in the State and District of Colorado and elsewhere,
and on an aircraft in the special aircraft jurisdiction of the United States, the defendant,
BRANDON LEE SILVERS, knowingly assaulted another person by striking S.B. and
A.H.
All in violation of Title 18, United States Code, Section 113(a)(4) and Title 49,

United States Code, Section 46506(1).

 
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COLE FINEGAN
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